                                UNITED STATES DISTRICT COURT
                                           for the
                                  DISTRICT OF MASSACHUSETTS


 ROBERT L. RICHARDSON,
               Plaintiff,

              v.

 KEOLIS COMMUTER SERVICES, LLC,
               Defendant and
                                                  CASE NUMBER:    1:17-cv-10912-PBS
               Third-Party Plaintiff,

              v.

 LAZ PARKING LIMITED, LLC and
 CRAIG L. GREEN, d.b.a. GREEN N’
 GROWING LANDSCAPING,
               Third-Party Defendants.


                                  JOINT LIST OF WITNESSES

          The parties submit this Joint List of Witnesses for the trial on

November 18, 2019, at 9 a.m.:

1.        Keolis Commuter Services, LLC intends to call the following witnesses

at trial


     A.            Robert L. Richardson, 93 Franklin Street, Apt. 2, Quincy,
                   Massachusetts

                   Anticipated direct examination: 2 to 4 hours

                   Anticipated cross-examination: thirty minutes to one hour.

     B.            David Greeley, 21 Third Street, Weymouth, Massachusetts

                   Anticipated direct examination: 2 hours

                   Anticipated cross-examination: thirty minutes to one hour.

     C.            Craig L. Green, 30 Perley Avenue, Peabody, Massachusetts

                   Anticipated direct examination: 2 hours

                   Anticipated cross-examination: 2 hours

     D.            Jamie Dupes, 3A Hemlock Street, Plaistow, New Hampshire

                   Anticipated direct examination: .5 to 1 hour

                   Anticipated cross-examination: thirty minutes to 1 hour.
     E.         Dale McGuire, 19 Winthrop Street, Rehoboth, Massachusetts

                Anticipated direct examination: .5 to 1 hour

                Anticipated cross-examination: thirty minutes to 1 hour.

     F.         Sean P. Woodbine, 24 Greenpost Lane, Warwick, Rhode Island

                Anticipated direct examination: 1 hour

                Anticipated cross-examination: thirty minutes to 1 hour.

     G.         Michelle Milot, c/o Keolis Commuter Services, LLC

                Anticipated direct examination: 1 hour

                Anticipated cross-examination: thirty minutes

          Keolis Commuter Services, LLC reserves the right to amend or supplement

its list of witnesses; as well as to amend or add to its list of witnesses up

and through trial, to call any witness identified by either third-party

defendant, and to call any witness, whether or not identified above, in

rebuttal as may be necessary at trial.

2.        LAZ Parking Limited, LTD intends to call the following witnesses at

trial:

          A.    Sean P. Woodbine, 24 Greenpost Lane, Warwick, Rhode Island

                Anticipated direct examination: 1 hour

                Anticipated cross-examination: 1 hour

          B.    George W. Melchior, R.A., P.E., LEED AP, 1061 South Street

                Portsmouth, NH 03801

                Anticipated direct examination: 1 hour;

                Anticipated cross-examination: 1 hour

          Any individual or entity who has been identified during the course of

discovery, but who have inadvertently not been listed, may be called to

testify consistent with their pre-trial disclosure.

          LAZ reserves the right to call any witnesses identified by Keolis

and/or Green ‘N Growing and to supplement this list of witnesses with

adequate pre-trial notice.



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      LAZ also reserves the right to call rebuttal witnesses and reserves the

right to seasonably supplement this section of the Joint Witness List.

      Further, LAZ reserves the right to call any other witness whose

identity becomes known to the parties prior to trial or who becomes necessary

as the result of further discovery or information obtained by the parties.

      LAZ reserves the right to call any witnesses listed by Keolis and/or

Green ‘N Growing   and to supplement this list seasonably and prior to the

trial of this matter.

3.    The third-party Defendant Craig L. Green, d.b.a Green N’ Growing

Landscaping, intends to call the following witnesses:

     A.     Peter Furtado; 38 Dona Road, Revere, Massachusetts

            Anticipated direct examination: 30-45 minutes

            Anticipated cross-examination: 1 hour

     B.     Keeper of Records of the Massachusetts Governor’s Office;

            Massachusetts State House, Boston, Massachusetts

            Anticipated direct examination: 10 minutes

            Anticipated cross-examination: 10 minutes

      The third-party defendant reserves his right to call all witnesses

identified by the plaintiff, to call rebuttal witnesses, and to seasonably

supplement this list prior to trial.



Respectfully submitted,

KEOLIS COMMUTER SERVICES, LLC,             LAZ Parking Limited, LLC,
by its attorney,                           by his attorney,


__/s/ Richard A. Davidson, Jr._____           /s/ Lawrence H. Behrens
Richard A. Davidson, Jr. BBO# 552988       Lawrence H. Behrens, Esq. BBO# 662171
DAVIDSON LAW OFFICE                        Law Office of Thomas M. Franco
110 The Great Road, 2nd Floor              99 High Street, 25th Floor
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CRAIG L. GREEN, d.b.a. GREEN N’ GROWING LANDSCAPING,
by his attorney,


   /s/ James M. McLaughlin
James M. McLaughlin, Esq.
Hassett & Donnelly, P.C.
446 Main Street, 12th Floor
Worcester, Massachusetts 01608
(508) 791-6287
jmclaughlin@hassettanddonnelly.com


Dated: November 7, 2019


                              CERTIFICATE OF SERVICES

      I, Richard A. Davidson, Jr., hereby certify that a true and accurate copy
of the Joint List of Witnesses was sent electronically through the ECF system
and by 1st Class United States Mail, postage prepaid, to Lawrence H. Behrens,
Esq., Law Office of Thomas M. Franco, 99 High Street, 25th Floor
Boston, Massachusetts 02110 and James M. McLaughlin, Esq., Hassett & Donnelly,
P.C., 446 Main Street, 12th Floor, Worcester, Massachusetts 01608.

        Signed under the pains and penalties of perjury this 7th day of November,
2019.

                                              /s/ Richard A. Davidson, Jr.
                                            Richard A. Davidson, Jr. BBO# 552988




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